76 F.3d 374
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frank M. NEFF, Petitioner-Appellant,v.ROXBURY CORRECTIONAL INSTITUTION, Talbot County;  State ofMaryland;  Ronald Moats, Warden;  Attorney Generalof the State of Maryland, Respondents-Appellees.
    No. 95-7797.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996.Decided Jan. 25, 1996.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   M.J. Garbis, District Judge.  (CA-95-2900-MJG)
      Frank M. Neff, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before RUSSELL, HALL, and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.   We have reviewed the record and the district court's opinion and find no reversible error.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Neff v. Roxbury Correctional Institution, No. CA-95-2900-MJG (D.Md. Oct. 23, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    